              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                              1:17 CR 82-4


UNITED STATES OF AMERICA,        )
                                 )
Vs.                              )                                 ORDER
                                 )
OFIR MARSIANO,                   )
                                 )
               Defendant.        )
________________________________ )


      THIS MATTER came before the undersigned pursuant to a Motion to

Review Bond Conditions (#59) filed by counsel for Defendant.                 The undersigned

conducted a hearing regarding this matter and allowed the motion.

                                       ORDER

      IT IS, THEREFORE, ORDERED that the Motion to Review Bond

Conditions (#59) is ALLOWED as reflected in the new Terms and Conditions of

Pretrial Release entered in this matter.


                                           Signed: July 10, 2017




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